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   7

   8

   9                      UNITED STATES DISTRICT COURT
  10                    SOUTHERN DISTRICT OF CALIFORNIA
  11

  12   KATHRYN KAILIKOLE, an                   Case No: 3:18-cv-02877-AJB-MSB
       individual,
  13                                           JOINT MOTION TO EXTEND THE
                         Plaintiff,            BRIEFING SCHEDULE FOR
  14                                           DEFENDANT’S SPECIAL MOTION
  15
             v.                                TO STRIKE PLAINTIFF’S FIRST
                                               AMENDED COMPLAINT
  16   PALOMAR COMMUNITY
       COLLEGE DISTRICT, a                     Current Response Date: April 3, 2019
  17   governmental entity; and DOES 1         Current Reply Date: April 10, 2019
       through 25, inclusive,
  18                                           Requested Response Date: April 17, 2019
  19                     Defendants.           Requested Reply Date: April 24, 2019

  20                                           Hearing Date: June 20, 2019
                                               Hearing Time: 2:00 p.m.
  21                                           Courtroom: 4A
  22

  23   JOINT MOTION AND REQUEST TO EXTEND BRIEFING SCHEDULE

  24         Plaintiff Kathryn Kailikole (“Plaintiff”) and Defendant Palomar

  25   Community College District (“Defendant”) bring this joint motion to request a

  26   two-week extension of the briefing schedule for Defendant’s Special Motion to

  27   Strike Plaintiff’s First Amended Complaint (the “Motion”), which was filed on

  28                                          1
                                       JOINT MOTION TO EXTEND BRIEFING SCHEDULE
                                                        CASE NO. 18CV2877 AJB MSB
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   1   March 19, 2019 (Declaration of Evan Dwin (“Dwin Decl.”) ¶ 2, Doc. 14). The
   2   current briefing schedule for the Motion requires Plaintiff to file her response on
   3   April 3, 2019. (Dwin Decl. ¶ 3, Doc. 20.)
   4         Plaintiff’s counsel is traveling with his family to the east coast for his
   5   father’s 80th birthday celebration and his niece’s bat mitzvah from March 21
   6   through March 25, which constitute 5 of the 14 days (including weekends) during
   7   the current briefing schedule for the opposition. (Dwin Decl. ¶¶ 4-5.) Further,
   8   the motion is a complex motion that is twenty-five pages long and cites to thirty-
   9   six cases, four federal statutes, ten state statutes, and the First Amendment and
  10   was submitted with declarations containing approximately 800 pages of exhibits.
  11   (Dwin Decl. ¶ 6, Doc. 14-1, 14-2, 14-3, 14-4.) The Motion seeks dismissal of
  12   Plaintiff’s claims and to recover attorneys’ fees. (Dwin Decl. ¶ 6, Doc. 14.)
  13         Given Plaintiff’s counsel’s need to attend to important family matters and
  14   the complexity and significance of the Motion, there is good cause to, and the
  15   parties jointly request that, the briefing schedule for the Motion be adjusted so
  16   that Plaintiff’s response is due April 17, 2019 and the reply is due April 24, 2019.
                                               Respectfully submitted,
  17    Dated: March 20, 2019
  18                                           DWIN LEGAL, APC

  19                                          By: /s/ Evan Dwin
                                                  Evan Dwin
  20                                              Attorneys for Plaintiff
  21
                                                  KATHRYN KAILIKOLE

  22
                                              FISHER & PHILLIPS LLP
       Dated: March 20, 2019
  23
                                              By: /s/ Adam Sloustcher
  24                                              Regina A. Petty
                                                  Adam F. Sloustcher
  25                                              Attorneys for Defendant
  26                                              PALOMAR COMMUNITY
                                                  COLLEGE DISTRICT
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                                        JOINT MOTION TO EXTEND BRIEFING SCHEDULE
                                                         CASE NO. 18CV2877 AJB MSB
